 Case 1:23-cr-20149-TLL-PTM ECF No. 17, PageID.48 Filed 03/09/23 Page 1 of 4




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           NORTHERN DIVISION

UNITED STATES OF AMERICA,
                                             Case: 1:23-cr-20149
             Plaintiff,                      Judge: Ludington, Thomas L.
                                             MJ: Morris, Patricia T.
v.                                           Filed: 03-09-2023 At 11:22 AM
                                             INFO USA v. Edmund Ray Woodchisky (krc)
EDMOND RAY WOODCHISKY
        Defendant.

                                INFORMATION



THE UNITED STATES ATTORNEY CHARGES:

                                COUNT ONE
                              18 U.S.C. § 2422(b)
     Attempted Enticement of a Minor to Engage in Criminal Sexual Activity

       1.    Beginning in or around February 2022 and continuing through on or

about March 7, 2022, in the Eastern District of Michigan, Edmund Woodchisky,

using a facility and means of interstate and foreign commerce, knowingly

attempted to persuade, induce, entice, and coerce an individual who had not

attained the age of 18 years to engage in sexual activity for which a person could

be charged with a criminal offense, namely 18 U.S.C. § 2251(a) (Sexual

Exploitation of a Child) and M.C.L. § 750.145(c) of the Michigan Penal Code

(Child Sexually Abusive Material).




                                       1
 Case 1:23-cr-20149-TLL-PTM ECF No. 17, PageID.49 Filed 03/09/23 Page 2 of 4




      All in violation of Title 18, United States Code, Section 2422(b).

                        FORFEITURE ALLEGATIONS
                      18 U.S.C. § 2428 and 28 U.S.C. § 2461

      2.     The allegations contained in Count One of this Information are hereby

re-alleged and incorporated by reference for the purpose of alleging forfeiture

pursuant to 18 U.S.C. § 2428 and 28 U.S.C. § 2461.

      3.     Upon conviction of the offense charged in Count One of the

Information, defendant shall, pursuant to Title 18, United States Code, Section

2428, and Title 28, United States Code, Section 2461, forfeit to the United States

the following:

             a. Any property, real or personal, used or intended to be used to
                commit or to facilitate the commission of such offense or any
                property traceable to such property; and,

             b. Any property, real or personal, constituting or derived from any
                proceeds obtained directly or indirectly as a result of such offense.

      4.     Substitute Assets: If the property described above as being subject to

forfeiture, as a result of any act or omission of the defendant:

             a. Cannot be located upon the exercise of due diligence;

             b. Has been transferred to, sold to, or deposited with a third party;

             c. Has been placed beyond the jurisdiction of the Court;

             d. Has been substantially diminished in value; or




                                           2
 Case 1:23-cr-20149-TLL-PTM ECF No. 17, PageID.50 Filed 03/09/23 Page 3 of 4




             e. Has been commingled with other property that cannot be divided
                without difficulty;

the United States of America shall be entitled to forfeiture of substitute property

pursuant to Title 21, United States Code, Section 853(p), and Title 28, United

States Code, Section 2461(c).

Dated: February 24, 2023


DAWN N. ISON
United States Attorney


___________________________________                  ___________________________
KATHARINE HEMANN (WSBA #46237)                       ANTHONY P. VANCE (P61148)
Assistant United States Attorney                     Assistant United States Attorney
101 First Street, Suite 200                          Chief, Branch Offices
Bay City, MI 48708
(989)895-5712
Katharine.Hemann@usdoj.gov




                                          3
                              Case 1:23-cr-20149-TLL-PTM ECF No. 17, PageID.51 Filed 03/09/23 Page 4 of 4


              8QLWHG6WDWHV'LVWULFW&RXUW                        &ULPLQDO&DVH&RYHU6KHHW &DVH1XPEHU
              (DVWHUQ'LVWULFWRI0LFKLJDQ
 
 
             127(,WLVWKHUHVSRQVLELOLW\RIWKH$VVLVWDQW86$WWRUQH\VLJQLQJWKLVIRUPWRFRPSOHWHLWDFFXUDWHO\LQDOOUHVSHFWV
 
        
  &RPSDQLRQ&DVH,QIRUPDWLRQ                                                                      &RPSDQLRQ&DVH1XPEHU

              7KLVPD\EHDFRPSDQLRQFDVHEDVHGXSRQ/&U5 E                             -XGJH$VVLJQHG
         
                                       <HV                 1R                                     $86$¶V,QLWLDOV         KH
 
                      &DVH7LWOH86$Y Edmond Woodchisky
 
 
                      &RXQW\ZKHUHRIIHQVHRFFXUUHG                         Tuscola
 
 
                      &KHFN2QH                   )HORQ\                                 0LVGHPHDQRU                                   3HWW\
 
                                     ,QGLFWPHQW   ,QIRUPDWLRQ QRSULRUFRPSODLQW
                                     ,QGLFWPHQW ✔ ,QIRUPDWLRQ EDVHGXSRQSULRUFRPSODLQW>&DVHQXPEHU@
                                                                                                                   22-mj-30229
                                     ,QGLFWPHQW   ,QIRUPDWLRQ EDVHGXSRQ/&U5 G [Complete Superseding section below].
 
         6XSHUVHGLQJ&DVH,QIRUPDWLRQ
 
 
         6XSHUVHGLQJWR&DVH1R                                                                          -XGJH
 
                      
                               &RUUHFWVHUURUVQRDGGLWLRQDOFKDUJHVRUGHIHQGDQWV
                               ,QYROYHVIRUSOHDSXUSRVHVGLIIHUHQWFKDUJHVRUDGGVFRXQWV
                               (PEUDFHVVDPHVXEMHFWPDWWHUEXWDGGVWKHDGGLWLRQDOGHIHQGDQWVRUFKDUJHVEHORZ
 
                                'HIHQGDQWQDPH                                             &KDUJHV                      3ULRU&RPSODLQW LIDSSOLFDEOH 
     
     
     
     
     
     
             3OHDVHWDNHQRWLFHWKDWWKHEHORZOLVWHG$VVLVWDQW8QLWHG6WDWHV$WWRUQH\LVWKHDWWRUQH\RIUHFRUGIRU
             WKHDERYHFDSWLRQHGFDVH
     
     
                      March 9, 2023                                                s/Katharine Hemann
                                 'DWH                                             Katharine Hemann
                                                                                   $VVLVWDQW8QLWHG6WDWHV$WWRUQH\
                                                                                   101 First St. Ste. 200
                                                                                   Bay City, MI 48708
                                                                                   3KRQH989-895-5712
                                                                                   )D[ 989-895-5720
                                                                                   (0DLODGGUHVVkatharine.hemann@usdoj.gov
                                                                                   $WWRUQH\%DU WSBA 46237
     
    &RPSDQLRQFDVHVDUHPDWWHUVLQZKLFKLWDSSHDUVWKDW  VXEVWDQWLDOO\VLPLODUHYLGHQFHZLOOEHRIIHUHGDWWULDORU  WKHVDPH
  RUUHODWHGSDUWLHVDUHSUHVHQWDQGWKHFDVHVDULVHRXWRIWKHVDPHWUDQVDFWLRQRURFFXUUHQFH&DVHVPD\EHFRPSDQLRQFDVHV
HYHQWKRXJKRQHRIWKHPPD\KDYHDOUHDG\EHHQWHUPLQDWHG
                                                                                                                                                              5/16
